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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
 CORNEL WEST AND MELINA                      :   No. 2:24-cv-01349
 ABDULLAH, GERALDINE                         :
 TUNSTALLE, KATHERINE HOPKINS-               :   (filed electronically)
 BOT, AND CHARLES HIER,                      :
                                             :
                           Plaintiffs,       :
                                             :
              v.                             :
                                             :
 PENNSYLVANIA DEPARTMENT OF                  :
 STATE AND AL SCHMIDT, IN HIS                :
 CAPACITY AS SECRETARY OF THE                :
 COMMONWEALTH,                               :
                                             :
                           Defendants.


AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs Cornel West and Melina Abdullah (Candidates), Geraldine

Tunstalle, Katherine Hopkins-Bot, and Charles Hier (Voters) (together, Plaintiffs),

by and through their undersigned counsel, bring this Complaint against Defendants,

the Pennsylvania Department of State (Department) and Al Schmidt, in his capacity

as Secretary of the Commonwealth (Secretary), and in support thereof aver as follows:

I.    INTRODUCTION

      1.     The primary values protected by the First Amendment to the United

States Constitution—“a profound national commitment to the principle that debate

on public issues should be uninhibited, robust, and wide-open,” —are “served when

election campaigns are not monopolized by existing political parties.” Anderson v.
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Celebrezze, 460 U.S. 780, 794 (1983) (quoting New York Times Co. v. Sullivan, 376

U.S. 254, 270 (1964)).

      2.     Accordingly, minor political parties, known in Pennsylvania as political

bodies, are crucial to advancing diversity of thought and ensuring competition in the

marketplace of ideas. See id.

      3.     When states impose severe burdens on political bodies to restrict access

to the ballot without any state interest to support that burden, a constitutional

violation occurs under the First and Fourteenth Amendment to the United States

Constitution.

      4.     In the context of presidential elections, such burdens “implicate a

uniquely important national interest,” because state-imposed restrictions have “an

impact beyond [the state’s] own borders.” Id. at 794–95.

      5.     This case presents exactly that concern because Defendants imposed on

Plaintiffs an interpretation of the Pennsylvania Election Code (Election Code) that

unfairly burdens and discriminates against political bodies, their candidates, and

supporters, without any state interest in doing so.

      6.     Candidates West and Abdullah were 2024 Presidential and Vice-

Presidential candidates of the Justice for All political body who sought access to the

ballot in Pennsylvania. Voters signed Candidates’ Nomination Papers (the

West/Abullah Nomination Papers) to advance that goal.

      7.     Candidates timely submitted the West/Abdullah Nomination Papers.

Still, Defendants refused to accept them, citing their interpretation that Section 951



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of the Election Code, 25 P.S. § 2911, requires each one of Candidates’ presidential

electors to submit candidate affidavits.

      8.     Ultimately, as a result of Defendants’ interpretation of Section 951 of

the Election Code, Candidates were not on the ballot for the 2024 General Election.

      9.     Upon information and belief, Defendants will enforce this interpretation

of Section 951 of the Election Code in 2028 as well.

      10.    Defendants’ interpretation of Section 951 of the Election Code, 25 P.S. §

2911, discriminates against Candidates, Voters, and political bodies as a whole,

treating them differently from the two major political parties.

      11.    Because Defendants’ interpretation of 25 P.S. § 2911 does not advance

any state interest, as evidenced by the lack of statutory support for this

interpretation, it unconstitutionally infringed on Plaintiffs’ First and Fourteenth

Amendment rights.

      12.    Accordingly,   Plaintiffs     ask   this     Court   to     declare   Defendants’

interpretation of 25 P.S. § 2911 unconstitutional under the First and Fourteenth

Amendments to the United States Constitution and permanently enjoin Defendants’

from relying on and enforcing that interpretation.

II.   JURISDICTION AND VENUE

      13.    Because this action alleges a violation of the United States Constitution,

it raises a federal question. So, under 28 U.S.C. § 1331, this Court has jurisdiction

over this action.




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        14.   Further, declaratory relief is proper pursuant to 28 U.S.C. §§ 2201 &

2202.

        15.   Venue is proper in the Western District of Pennsylvania under 28 U.S.C.

§ 1391(b)(2) because a substantial portion of the events or omissions giving rise to the

present claim occurred in the district, as Voters are all registered voters who signed

the West/Abullah Nomination Papers. Two of the Voters signed the West/Abdullah

Nomination Papers in this district.

III.    PARTIES

        16.   Plaintiff Cornel West is a United States citizen and resident of Orange

County, California. West was Justice for All’s 2024 candidate for President of the

United States.

        17.   Plaintiff Melina Abdullah is a United States citizen and a resident of

Los Angeles County, California. Abdullah was Justice for All’s 2024 candidate for

Vice-President of the United States.

        18.   Plaintiff Geraldine Tunstalle is a registered Pennsylvania voter who

signed the West/Abullah Nomination Papers in the Western District of Pennsylvania

and who intended to vote in the 2024 General Election.

        19.   Plaintiff Katherine Hopkins-Bot is a registered Pennsylvania voter who

signed the West/Abullah Nomination Papers and who intended to in the 2024 General

Election.




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      20.    Plaintiff Charles Hier, is a registered Pennsylvania voter who signed the

West/Abullah Nomination Papers in the Western District of Pennsylvania and who

intended to vote in the 2024 General Election.

      21.    Voters intended to vote for West and Abdullah in the 2024 General

Election.

      22.    Voters intend to vote in the 2028 General Election.

      23.    Defendant Department is a Pennsylvania Executive Branch Agency

under the leadership of the Secretary of the Commonwealth, see 71 P.S. § 273, vested

with only such powers as are granted to it by statute.

      24.    Defendant Secretary is the Secretary of the Commonwealth who has

certain enumerated responsibilities under the Election Code, including, inter alia,

the power and duty “[t]o certify to county boards of elections for primaries and

elections the names of the candidates for President and Vice-President of the United

States,” 25 P.S. § 2621(c), and “[t]o receive and determine, as hereinafter provided,

the sufficiency of nomination petitions, certificates and papers of candidates for

President of the United States,” id. at § 2621(d).

IV.   FACTUAL ALLEGATIONS

      A.     Nomination of candidates for President and Vice-President of
             the United States under the Pennsylvania Election Code.

      25.    Generally, the Election Code provides for two avenues through which

candidates for President and Vice-President of the United States may have their

names printed on the general election ballot: (1) nomination by major political parties




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(25 P.S. §§ 2861-2883), or (2) nomination by political bodies (including “minor political

parties”) (25 P.S. §§ 2911-2914).

        26.     To fully understand the constitutional violations caused by this regime,

a brief discussion of both methods is necessary.

        27.     Under the Election Code, any party whose share of registered voters

statewide is equal to or greater than fifteen percent and who had at least one

candidate poll above a certain minimum threshold is deemed a “political party.” 25

P.S. §§ 2831(a),1 2872.2.

        28.     For decades, the Republican and Democratic parties have been the only

parties that have met the criteria to enjoy “political party” status.

        29.     Each political party is entitled to choose its nominee for President and

Vice-President of the United States at the party’s national convention.

        30.     Thereafter, the presidential candidate of each political party chooses a

slate of presidential electors. See 25 P.S. § 2878.




        1 Although Section 801 defines a “political party,” as “[a]ny party or political body, one of

whose candidates at the general election next preceding the primary polled in each of at least ten
counties of the State not less than two per centum of the largest entire vote cast in each of said
counties for any elected candidate, and polled a total vote in the State equal to at least two per
centum of the largest entire vote cast in the State for any elected candidate, is hereby declared to be
a political party within the State[.]” Id. at § 2831(a). But under Section 912.2, any “political party as
defined in section 801(a) or (b) whose State-wide registration is less than fifteen per centum of the
combined State-wide registration for all State-wide political parties as of the close of the registration
period immediately preceding the most recent November election[,]” is defined as a “minor political
party.” Id. at § 2872.2(a). Currently, the Libertarian party is the only minor political party in
Pennsylvania. However, because the ballot-access process for political bodies and minor political
parties is identical in all respects relevant here, the term “political body,” as used here, includes
“minor political parties.” See id. (“Notwithstanding any other provision in this act to the contrary,
minor political parties shall nominate all of their candidates for the offices to be filled at the ensuing
November election pursuant to section 9031 in accordance with the requirements of section 951,
other than subsection (e)(6) and (7) thereof, and section 954,3 and shall obtain the required
signatures during the same time frame available to political bodies.”).

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        31.   Although the Election Code provides that a party’s presidential electors

must be chosen within thirty days, failure to do so is in no way fatal to the candidacy

of a political party’s presidential candidate, provided that the designation is made “as

soon as may be possible after the expiration of thirty days.” Id.

        32.   Notably, this provision does not require presidential electors to submit

affidavits or pay any fees; rather, all that is required is the presidential elector’s name

and address. See id. (“The names of such nominees, with their residences and

postoffice addresses, shall be certified immediately to the Secretary of the

Commonwealth by the nominee for the office of President or Vice-President, as the

case may be, making the nominations.”).

        33.   By contrast, a political party whose total share of statewide support is

below the aforementioned threshold, or a political body, which is defined as an “an

independent body of electors,” 25 P.S. § 2602, nominates its candidates for the general

election—including     candidates    for       President   and   Vice-President—by     filing

nomination papers pursuant to certain statutory requirements. See 25 P.S. §§ 2911-

2914.

        34.   The “nomination of candidates for any public office may also be made by

nomination papers signed by qualified electors of the State, or of the electoral district

for which the nomination is made, and filed in the manner herein provided.” Id. at

§ 2911(a).




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       35.     Nomination papers of presidential candidates must be signed by at least

five thousand qualified electors, see id. at § 2911(b),2 and be accompanied by “an

affidavit of each candidate nominated therein[,]” with certain attestations, see id. at

§ 2911(e) (emphasis added).

       36.     In terms of eligibility, “[a]ny person who is a registered and enrolled

member of a party during any period of time beginning with thirty (30) days before

the primary and extending through the general . . . election of that same year shall

be ineligible to be the candidate of a political body” in that year’s general election. Id.

at § 2911.1.

       37.     Furthermore, “each candidate nominated by a nomination paper” must

submit “[t]he same filing . . . as required in section 913 for the filing of nomination

petitions by candidates for nomination to the same office.” Id. at § 2914.

       B.      The role of presidential electors

       38.     Presidential electors fulfill a role under the Election Code that is distinct

from candidates for office.

       39.     Once designated, individual presidential electors for Presidential and

Vice-Presidential candidates—of both political parties and political bodies—remain




2 Although Section 951(b) imposes a substantially higher signature requirement, see 25 P.S.

§ 2911(b), in Constitution Party of Pa. v. Cortés, No. 12-2726, Doc. No. 115 (E.D. Pa. Feb. 1, 2018),
the United States District Court for the Eastern District of Pennsylvania found the requirement
unconstitutional and replaced it with a 5,000-signature minimum for presidential candidates. By its
terms, the decision in Constitution Party of Pa. only applies to the three political bodies and minor
political parties who lodged the complaint. However, the Secretary has recognized that the Court’s
rationale would likely apply with equal force to all bodies and parties that are required to nominate
their candidates by nomination papers and, thus, has announced that the Department would accept
nomination papers that comply with the minimum signature requirements interposed by
Constitution Party of Pa.

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largely unknown to the general public and have virtually no involvement in the

political process until several weeks after the general election.

      40.    Presidential electors are not listed on the ballot or in election materials

provided to voters by election officials.

      41.    For example, a sample 2020 election ballot for Beaver County, attached

as Exhibit A, lists only candidates for President and Vice-President without listing

presidential electors. And it instructs voters to “[v]ote for the candidates of one party

for President and Vice-President or insert the names of candidates.” Id.

      42.    And none of the Election Code’s various public notice provisions require

disclosure of the names of presidential electors.

      43.    Similarly, as a practical matter, it is exceedingly difficult for voters to

ascertain the identities of the presidential electors.

      44.    To that end, the names of presidential electors do not appear on the

Department’s “Candidate Database,” its “Unofficial List of Candidates,” or any other

portion of the Department’s website.

      45.    Indeed, upon information and belief, the Department does not publicly

disclose—except to specific individuals who requested such information—the identity

of individual presidential electors prior to the election.

      46.    The Election Code details the role of presidential electors. Once the

results of the presidential election have been determined, the individuals designated

to act as electors by the winning presidential candidate “assemble at the seat of

government of this Commonwealth [i.e., Harrisburg], at 12 o’clock noon of the day,



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which is, or may be, directed by the Congress of the United States, and shall then and

there perform the duties enjoined upon them by the Constitution and laws of the

United States.” 25 P.S. § 3192.

      47.    The Election Code further provides for the compensation of presidential

electors and the procedure for filling any vacancies that occur. See id.; 25 P.S. § 3193.

      48.    With no mention of presidential electors in any other statute, the above

provisions provide the extent of the powers and duties of presidential electors.

      C.     Defendants’ application of the Election Code to political bodies

      49.    The Department interprets these Election Code provisions for political

bodies to gain ballot access.

      50.     For the 2024 General Election, that interpretation was provided on the

Department’s website under a page titled “Third Party Nomination Paperwork.” See

Exhibit B.

      51.    Inexplicably, the Department contends that every individual designated

as a presidential elector by a political body is a “candidate.”

      52.    Among other things, according to the Department, presidential electors

were required to submit the candidate affidavit required under 25 P.S. § 2911.

Specifically, the frequently asked questions portion of the Department’s website

provides, in relevant part, the following:

             Do presidential electors need to complete the
             Candidate’s affidavit?

             Yes, minor political party and political body candidates
             for the office of presidential elector must file candidates’



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               affidavits by the August 1 deadline. 25 P.S. §§ 2911(e),
               2913(a).

Id.

         53.   Upon information and belief, the 2024 election was the first time

Defendants interpreted and enforced 25 P.S. § 2911 in this manner.

         54.   The Department also took the position that the disaffiliation

requirements set forth in 25 P.S. § 2911 apply to presidential electors:

               Do presidential electors submitting nomination
               papers need to have the same party affiliation as
               the candidate?

               No, but any person who is a registered and enrolled
               member of the Democratic, Republican, or Libertarian
               party during any period of time beginning thirty (30) days
               before the primary and extending through the general or
               municipal election of that same year is ineligible to be a
               candidate for presidential elector of a political body in a
               general or municipal election held in that same year. 25
               P.S. § 2911(e).

Ex. B.

         55.   The Nomination Paper form created by the Department also requires

candidates for President and Vice-President to list all nineteen presidential electors

on each sheet.

         56.   Specifically, the Department’s website provides:

               A presidential candidate must nominate 19 individuals to
               serve as candidates for the office of presidential elector.

Id.




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      D.     Candidates’ submission of the Nomination Papers and
             Defendants’ refusal to accept them.

      57.    The Department’s foregoing interpretation and its disparate effect on

Candidates and Voters first became evident when nomination papers came due in

August 2024.

      58.    On July 11, 2024, Candidates timely filed the West/Abdullah

Nomination Papers with Defendants.

      59.    The West/Abullah Nomination Papers contained over 13,000 signatures,

including those of Voters.

      60.    In addition, Candidates paid the relevant filing fee, and attached their

respective candidate affidavits. See 25 P.S. § 2911(b)-(e); 25 P.S. § 2914.

      61.    On that day, Defendants issued to a campaign representative a notice

that the Department did not receive a valid candidate affidavit.

      62.    On August 1, Defendants rejected the West/Abdullah Nomination

Papers because they did not have candidate affidavits for all nineteen individual

presidential electors.

      63.    The next day, Defendants emailed the rejection notice to Candidates’

campaign.

      64.    Despite Candidates’ disagreement with Defendants’ interpretation of

the Election Code, Candidates, their presidential electors and others attempted to

cure this alleged infirmity.

      65.    But Defendants steadfastly refused to accept the West/Abdullah

Nomination Papers based on their interpretation of the Election Code as requiring

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every single presidential elector for a political body presidential candidate to submit

a candidate affidavit.

      66.    Certain presidential electors and substitute presidential electors for

Candidates filed a mandamus and declaratory relief action with the Commonwealth

Court under the Court’s original jurisdiction. These electors and substitute electors

sought a writ of mandamus compelling the Department and Secretary to accept the

West/Abdullah Nomination Papers in accordance with their statutory obligations.

Alternatively, the electors and substitute electors sought a declaration that the

Department’s interpretation of 25 P.S. § 2911 was contrary to the Election Code, the

Pennsylvania Constitution, and the United States Constitution. See Williams v. Pa.

Dep’t of State, No. 394 MD 2024 (Pa. Cmwlth.).

      67.    The Commonwealth Court dismissed the action filed by Candidates’

presidential electors, primarily based on laches, and the Pennsylvania Supreme

Court affirmed by a per curiam order. See Williams v. Pa. Dep’t of State, 2024 WL

3912684 (Pa. Cmwlth., No. 394 M.D. 2024, filed Aug. 23, 2024), aff’d, 2024 WL

4195131 (Pa., No. 25 WAP 2024, filed Sept. 16, 2024).

      68.    Candidates sought leave to intervene while Williams was pending before

the Supreme Court, and that request for intervention was denied.

      69.    Candidates were not the only political body candidates for President and

Vice-President who have had their nomination papers rejected or challenged because

of Defendants’ interpretation of 25 P.S. § 2911. See Clymer v. Schmidt, 2024 WL

3912661 (Pa. Cmwlth., No. 376 M.D. 2024, filed Aug. 23, 2024), aff’d, 2024 WL



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4181585 (Pa., No. 67 MAP 2024, filed Sept. 13, 2024); In re: Nomination Papers of

Claudia De la Cruz, No. 2024 WL 3982157 (Pa. Cmwlth., No. 379 M.D. 2024, filed

Aug. 20, 2024), aff’d, 2024 WL 4181581(Pa., No. 56 EAP 2024, filed Sept. 13, 2024).

       70.    Defendants’ interpretation of 25 P.S. § 2911 treats Candidates and

Voters differently than candidates of political parties and voters for political parties.

       71.    Without advancing any state interest, Defendants’ interpretation

imposes a severe burden on Plaintiffs’ constitutional interests that they would not

face if they were not candidates of and voters for a political body rather than a

political party.

       72.    With the 2024 General Election less than two months away. Candidates

and Voters filed with this Court a Verified Complaint for Declaratory and Injunctive

Relief and, simultaneously, a Motion for Preliminary Injunction, seeking to enjoin

Defendants’ interpretation of Section 951 and compel them to accept the

West/Abdullah Nomination Papers.

       73.    After a hearing, this Court expressed “serious concerns with the

Secretary’s application of the election code’s restrictions to Dr. West” because the law

as applied appears designed to restrict ballot access. West et al. v. Dep’t of State, No.

2:24-cv-1349, 2024 WL 4476497, at *1 (W.D. Pa. Oct. 10, 2024). But, ultimately

relying on the Purcell principle articulated by the Supreme Court in Purcell v.

Gonzalez, 549 U.S. 1 (2006), this Court denied injunctive relief because of the

proximity to the election.




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      74.    Plaintiffs appealed and sought an injunction pending appeal from this

Court and the Third Circuit, both of which denied the request.

      75.    Finally, Plaintiffs filed an Emergency Application for Injunction with

the United States Supreme Court, which was denied on October 30, 2024. See West v.

Pa. Dep’t of State, No. 24-2913 (U.S. Oct. 30, 2024).

      76.    On November 5, 2024, Pennsylvania conducted the General Election

and Candidates did not appear on the ballot in any county.

      77.    Cornel West intends to seek ballot access in Pennsylvania as a political

body presidential candidate in 2028.

      78.    Voters hope to cast their vote for presidential and vice-presidential

candidates from political bodies in future presidential elections.

      79.    Upon information and belief, in 2028, Defendants will interpret Section

951 of the Election Code the same way they did in 2024.

      80.    In other words, in 2028, Defendants will require that political body

presidential candidates identify electors prior to circulating nomination papers and

require those electors to submit candidate affidavits with the nomination papers

before political body candidates may appear on the ballot.

      81.    Given the short timeline between the deadline for submitting

nomination papers and the election, future constitutional challenges to Defendants’

interpretation of Section 951 of the Election Code will be unable to be fully litigated

prior to ballot printing and administration of the General Election.




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                                   COUNT I
    42 U.S.C. § 1983 –Violation of First Amendment Right to Freedom of
                                 Association

      82.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

      83.    The First Amendment to the United States Constitution protects the

freedom of speech and association. U.S. Const. amend. I.

      84.    Plaintiffs have a fundamental right to political association protected by

the First Amendment to the United States Constitution, which includes the right of

individuals to associate for the advancement of political beliefs.

      85.    Under the First and Fourteenth Amendments, this Court balances the

character and magnitude of the injury to the constitutional right against “the precise

interests put forward by the State as justifications for the burden imposed by its rule,

taking into consideration the extent to which those interests make it necessary to

burden the plaintiff[s’] rights.” Burdick v. Takushi, 504 U.S. 428, 434 (1992);

Anderson, 460 U.S. at 789. Where the burden on the right is severe, strict scrutiny

applies, meaning that it cannot pass constitutional muster unless it is narrowly

tailored to advance a compelling state interest. See Donald J. Trump for President,

Inc. v. Boockvar, 493 F. Supp. 3d 331, 384 (W.D. Pa. 2020).

      86.    Indeed, “[a] burden that falls unequally on new or small political parties

or on independent candidates impinges, by its very nature, on associational choices

protected by the First Amendment,” by discriminating against both candidates and




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voters whose political preferences lie outside the existing political parties. Anderson,

460 U.S. at 794.

         87.   Further, restricting a political body’s access to the ballot infringes

citizens’ fundamental rights of association and speech protected by the First and

Fourteenth Amendments.” Green Party of Pa. v. Aichele, 89 F. Supp. 3d 723, 738 (E.D.

Pa. 2015).

         88.   Defendants’ interpretation of 25 P.S. § 2911 described above is intended

to and did restrict Candidates’ access to the ballot.

         89.   Defendants’ interpretation of 25 P.S. § 2911 also unduly restricted

Voters’ right to cast their votes effectively by impinging on their associational rights

simply because their political preferences fall outside the existing political parties.

         90.   Defendants’ same interpretation of 25 P.S. § 2911 in 2028 will again

restrict Candidates’ access to the ballot and Voters rights to effectively cast their

votes.

         91.   Defendants cannot proffer any state interest, let alone a compelling

state interest for this distinction and, therefore, Defendants’ interpretation unduly

burdens Plaintiffs’ First Amendment rights.

         92.   Defendants’ interpretation of 25 P.S. § 2911 significantly encroaches on

Plaintiffs’ associational freedom. Accordingly, Plaintiffs are entitled to a judgment

declaring Defendants’ interpretation to be in violation of the First Amendment to the

United States Constitution.




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                                     COUNT II
                  42 U.S.C. § 1983 – Equal Protection Violation

      93.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

      94.     The Fourteenth Amendment to the United States Constitution ensures

that no state shall deny to any person equal protection of the laws. U.S. Const.

amend. XIV.

      95.     Again, under the First and Fourteenth Amendments, this Court

balances the character and magnitude of the injury to the constitutional right

against “the precise interests put forward by the State as justifications for the

burden imposed by its rule, taking into consideration the extent to which those

interests make it necessary to burden the plaintiff[s’] rights.” Burdick, 504 U.S. at

434 (1992); Anderson, 460 U.S at 789. If it is a severe burden on the right, strict

scrutiny applies and the rule must be narrowly tailored and advance a compelling

interest. See Donald J. Trump for President, Inc, 493 F. Supp. 3d at 384.

      96.     Defendants’ interpretation of 25 P.S. § 2911 unequally and unfairly

discriminates against political body voters and candidates without a compelling

state interest.

      97.     Political parties are not required to submit a slate of presidential

electors until thirty days after the parties have nominated their candidate for

president. 25 P.S. § 2878. And they are not required to submit candidate affidavits

for every single presidential elector. See id.




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      98.    In fact, a political party’s failure to submit the names of presidential

electors within the allotted time does not affect that party candidate’s right to

appear on the ballot. See id.

      99.    Presidential electors may move from the jurisdiction or change their

intent to serve as presidential electors before or after Nomination Papers are due.

But the will of registered voters who signed the West/Abdullah Nomination Papers

and may do so in the future should not be thwarted because the presidential

electors could not timely complete a discriminatory candidate-affidavit requirement.

      100.   Defendants’ interpretation of 25 P.S. § 2911, that every one of

Candidates’ presidential electors must complete a candidate affidavit, is a

substantial burden not supported by any state interest (or by the statute itself).

      101.   Presidential electors are not candidates for public office within the

Election Code or under any common sense understanding of the term. Voters do not

vote for presidential electors individually, and presidential electors do not appear on

the ballot. See supra ¶¶ 35–45.

      102.   Instead, presidential electors fulfill a limited role as dictated by statute

to appear in Harrisburg at the appointed time and carry out their constitutional

duty. See supra ¶¶ 43-45; see also 25 P.S. § 3192.

      103.   There is no basis for this discriminatory interpretation of the Election

Code and, even if there was, there is no discernable state interest to treat

Candidates and Voters from a political body differently than political parties.




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      104.   As such, Defendants’ interpretation of 25 P.S. § 2911 violates

Plaintiffs’ right to equal protection of the laws, is arbitrary and capricious, serves no

compelling state interest, and is unconstitutional on its face and as applied.

      105.   Defendants’ interpretation of 25 P.S. § 2911 unfairly discriminates

against Candidates as candidates of political bodies and Voters as voters for

political body candidates. Plaintiffs are entitled to a judgment declaring Defendants’

interpretation 25 P.S. § 2911 to violate the Fourteenth Amendment to the United

States Constitution.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court render a

judgment in their favor and grant the following relief:

      (1)    Declare that Defendants’ interpretation of 25 P.S. § 2911—that requires

             Candidates’ and other political body candidates’ presidential electors to

             submit candidate affidavits with Nomination Papers—violates the First

             Amendment and the Fourteenth Amendment to the United States

             Constitution;

      (2)    Enjoin Defendants permanently from enforcing their interpretation of

             25 P.S. § 2911;

      (3)    Award Plaintiffs the cost of prosecuting this action together with

             attorneys’ fees under 42 U.S.C. § 1988; and

      (4)    Grant such further relief as this Court deems just and proper under the

             circumstances.



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                                  Respectfully submitted,

Dated: February 7, 2025           /s/ Matthew H. Haverstick
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                                  /s/ Erik Roberts Anderson
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                           CERTIFICATE OF SERVICE

      I, Matthew H. Haverstick, hereby certify that on the date set forth below I

caused a true and correct copy of the foregoing Amended Complaint for Declaratory

and Injunctive Relief, to be served on the following via the Court’s electronic filing

system:


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                                   Stephen Kovatis
                              Deputy General Counsel
                              Office of General Counsel
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                                    (717) 460-6786

                               Attorney for Defendants




Dated: February 7, 2025                         /s/ Matthew H. Haverstick
